                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MARK A. KOLAKOWSKI,

                 Plaintiff,
                                                DOCKET NO: 2:21-CV-574-RJC
 v.

 THE WASHINGTON HOSPITAL D/B/A
 WASHINGTON HEALTH SYSTEM,

                  Defendants.

             DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       AND NOW, comes the Defendant, The Washington Hospital d/b/a Washington Health

System, by and through its counsel, Gordon Rees Scully Mansukhani, LLP, and files the within

Motion to Dismiss Plaintiff’s Complaint, averring as follows:

       1.     Plaintiff initiated this matter by filing a Complaint on April 30, 2021. (ECF No.

1).

       2.     Counsel for Defendant executed a Waiver of Service on May 13, 2021, making

Defendant’s response to the Complaint due on July 12, 2021. (ECF No. 9).

       3.     Plaintiff alleges federal claims of violations of the First Amendment and state

law claims of a violation of the Pennsylvania Whistleblower Law, wrongful discharge,

injurious falsehood, and libel. (ECF No. 1).

       4.     Although Plaintiff titled his “civil conspiracy” claim as arising under

“Pennsylvania common law” and Sections 1983 and 1988, the allegations make clear that

this is a claim purportedly arising under Section 1983. This claim must be dismissed, as the

factual allegations do not support a conspiracy claim and, even if they did, Defendant is a

corporation that cannot conspire with itself and the allegations do not show any conspiracy
with independent third parties or officers acting in a personal capacity.

       5.     Plaintiff’s claim under the Pennsylvania Whistleblower Law must be

dismissed because the allegations cannot and do not show that Defendant is a public body

that is subject to the Whistleblower Law.

       6.     Plaintiff’s claim of injurious falsehood must also be dismissed, as Pennsylvania

law recognizes this tort only in the context of a commercial relationship involving the

representation of the title and quality of another’s interest in goods or property, and the

allegations in the Complaint do not state such a claim.

       7.     Contemporaneous with this Motion, Defendant has filed an accompanying

Brief in Support of this Motion to Dismiss, the contents of which are incorporated herein by

reference.

       WHEREFORE, Defendant, The Washington Hospital d/b/a Washington Health

System, respectfully requests that this Honorable Court enter an order dismissing Plaintiff’s

Section 1983 conspiracy, Whistleblower Law, and injurious falsehood claims against

Defendant with prejudice.

                                               Respectfully submitted,

                                               GORDON REES SCULLY MANSUKHANI, LLP

Date: July ___, 2021                           /s/ Matthew A. Deluzio
                                               Matthew A. Deluzio, Esquire
                                               PA ID # 324634
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                                               Pittsburgh, PA 15219
                                               (412) 577-7400
                                               E-mail: meluzio@grsm.com
                             CERTIFICATE OF CONFERRAL

      I hereby certify that I have made a good faith effort to confer with Plaintiff prior to

filing the foregoing Motion to Dismiss to determine whether the identified deficiencies

within Plaintiff’s Complaint may be cured by amendment.

                                             GORDON REES SCULLY MANSUKHANI, LLP

                                             /s/ Matthew A. Deluzio
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on all

counsel of record this 12th day of July, 2021, via the Electronic Filing System, as follows:

                               Lawrence E. Bolind, Jr., Esquire
                                  bolindlaw@verizon.net
                                    Counsel for Plaintiff

                                               GORDON REES SCULLY MANSUKHANI, LLP

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